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    11
                               UNITED STATES DISTRICT COURT
    12
                            SOUTHERN DISTRICT OF CALIFORNIA
    13
    14   IN RE: PACKAGED SEAFOOD                      ) Case No.: 15-MD-2670 DMS (MSB)
         PRODUCTS ANTITRUST                           )
    15   LITIGATION                                   ) END PAYER PLAINTIFFS’
    16                                                ) MEMORANDUM OF POINTS
                                                      ) AND AUTORITIES IN SUPPORT
    17                                                ) OF THEIR MOTION FOR
                                                      ) PRELIMINARY APPROVAL OF
    18                                                ) CLASS ACTION SETTLEMENTS
    19                                                )
                                                      )
    20   This Document Relates to:                    ) DATE:       August 23, 2024
    21           End Payer Plaintiffs Class Track     ) TIME:       1:30 p.m.
                                                      ) JUDGE:      Hon. Dana M. Sabraw
    22                                                ) COURT:      13A (13th Floor)
                                                      )
    23                                                )
    24                                                )
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    25                                                )
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     1   I.    INTRODUCTION
     2         After nine years of hard-fought litigation, with the trial set to start on July 16,
     3   2024, the End Payer Plaintiffs (“EPPs” or “Consumers”) present for the Court’s
     4   preliminary approval two substantial settlements with the Settling Defendants1 with a
     5   combined cash value of $136 million. The nine long years of litigation included: a
     6   hotly disputed class certification process; extensive discovery with millions of
     7   documents and over 200 depositions; and multiple summary judgment motions. An
     8   earlier Partial Settlement with Defendant Chicken of the Sea and its parent, Thai
     9   Union Group, (“the COSI Settlement”) adds another $16.2 million, for Total
    10   Settlement Benefits of $152.2 million.2
    11         The StarKist and Lion Companies Settlement Agreements were vigorously and
    12   extensively negotiated at arm’s-length by counsel experienced in antitrust class
    13   actions. Class Counsel were ready and willing to try this antitrust litigation to verdict.
    14   It was only through the extraordinary efforts of United States Magistrate Judge
    15   Michael S. Berg, who oversaw multiple heated mediation sessions between the
    16
    17   1
          The Settling Defendants are StarKist Co. and its parent Dongwon Industries Co.,
    18   Ltd. (“DWI” and, collectively, “StarKist”) and various “Lion Companies” (Lion
         Capital LLP, Lion Capital (Americas), Inc. and Big Catch Cayman LP) (collectively,
    19   “Lion Companies” or “LC”).
    20   2
           On July 15, 2022, the Court finally approved the Partial (COSI) Settlement. ECF
    21   No. 2871. Under the COSI Settlement Agreement, the Maximum Settlement Amount
         was $20 million. ECF No. 2552-3 at 8. Under Paragraphs 11(b) and 18, up to $5
    22
         million could be used to cover the reasonable costs of the Settlement Notice and
    23   administration of the $15 million Settlement Fund. Since the reasonable costs of
    24   Settlement Notice were less than $5 million, the difference was refunded to the COSI
         Defendants. Id. at 14 and 15. The Court also approved an Expense Award of
    25   $4,155,027.67 to reimburse Class litigation costs incurred as of May 2021. ECF No.
    26   2872 at 4:17-19. The COSI Settlement provided $1.4 million in notice and
         administration benefits. COSI now requests reimbursement for $206,379.11 in
    27   administrative costs incurred in 2024 relating to claims administration which benefits
    28   the proposed settlements. Declaration of Betsy C. Manifold (“Manifold Decl.”), ¶ 2.
         The total benefit provided by the COSI Settlement is $16.2 million.
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     1   settling parties in April, May, June, and July 2024, that these settlements were
     2   achieved – literally on the steps of the courthouse and the eve of trial. Collectively,
     3   the Total Settlement Benefits of $152.2 million represent approximately 68% of
     4   single damages as calculated by the EPPs’ expert. This is an excellent outcome for
     5   the previously certified Consumer Classes.3 EPPs submit that the Settlement
     6   Agreements are fair, adequate and reasonable.
     7         EPPs respectfully request that the Court grant preliminary approval and enter
     8   an order finding that the StarKist and Lion Companies Settlement Agreements have
     9   been negotiated at arm’s-length, and that both Settlement Agreements are fair,
    10   reasonable, and adequate and in the best interests of the Consumer Classes. As the
    11   Court’s Class Order (ECF No. 1931) has already determined that the Consumer
    12   Classes satisfy Rules 23(a) and 23(b)(3), the proposed Settlement Class (consisting
    13   of the same Cartwright and State Law Consumer Classes, less any opt-outs previously
    14   so ordered by the Court), also satisfies Rules 23(a) and 23(b)(3) for settlement
    15   purposes. The EPPs ask the Court to: (i) approve again the EPPs’ proposed Class
    16   Notice provider (JND) and approve the Settlement Class Notice and Distribution
    17   Plan; (ii) set a deadline (the “Objection Deadline”) for persons to object; (iii) set a
    18   deadline for persons to make claims (“Claims Deadline”) from the Settlements; and
    19   (iv) schedule a Fairness Hearing.
    20   II.   PLAINTIFFS’ CLAIMS AND PROCEDURAL HISTORY OF THE
    21         LITIGATION
    22         A.     History of the Litigation
    23
         3
    24     This Court previously certified a multistate Cartwright Act class (“Cartwright
         Class”) and multiple individual State Law Classes for 32 States, Districts, and
    25   Territories (“State Classes”) (collectively referred to as “Consumer Classes”). The
    26   Cartwright Class consists of 31 State Classes. See July 30, 2019 Order re: Class
         Certification (ECF No. 1931) (“Class Cert. Order”) at 46 (certifying Cartwright Class
    27   with 32 states); ECF No. 2925 at 10:10-17 (excising the South Carolina claimants
    28   from the Cartwright Class). The Settlement Class is defined as the Consumer Class,
         less the opt-outs so ordered by the Court. See ECF No. 1931 and 3120.
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     1         The general background and history of this litigation is well-documented and
     2   extensively discussed in prior orders. ECF Nos. 2454, 2654. The relevant highlights
     3   for the purpose of preliminary approval are as follows.
     4         On August 24, 2015, the EPPs filed a class action complaint alleging an
     5   antitrust conspiracy by the three domestic tuna brands and their parent companies,
     6   StarKist Co. (“StarKist”), Bumble Bee, and Chicken of the Sea (“COSI”), to fix and
     7   maintain packaged tuna prices above competitive levels in violation of state laws.
     8   After nine years of hotly contested litigation, it is undisputed that all three Defendants
     9   participated in a conspiracy in violation of state and federal laws. Defendants Bumble
    10   Bee and StarKist pled guilty to a criminal conspiracy to violate federal antitrust laws
    11   under the Sherman Act, 15 U.S.C. § 1, on August 4, 2017, and November 14, 2018,
    12   respectively. See ECF No. 2654 (discussing guilty pleas, convictions, and admissions
    13   of Defendants). COSI entered into a leniency agreement with the Department of
    14   Justice (“DOJ”) Antitrust Division and agreed to cooperate and testify concerning its
    15   participation in the “cartel.” Executives of StarKist and Bumble Bee pled guilty to
    16   participating in the conspiracy in 2017, and Bumble Bee’s Chief Executive Officer
    17   was tried and convicted by jury on December 3, 2019, for his role in the conspiracy.
    18   Id.
    19         The Court granted summary judgment against StarKist on liability, finding that
    20   StarKist engaged in the price-fixing conspiracy from at least as early as November
    21   2011, and continuing through at least as late as December 2013, but expressly
    22   permitting Plaintiffs to present evidence and argue for a broader conspiracy. ECF No.
    23   2654 at 27. The Court also found that “the conspiracy had an actual effect on the
    24   market,” leaving the Consumers to prove their damages at trial. Id. Only three
    25   disputed issues remain to be tried at trial: (i) the extent of the conspiracy; (ii)
    26   Plaintiffs’ damages, and (iii) whether Defendants DWI and the Lion Companies are
    27   liable along with Defendant StarKist.
    28         B.     The “Icebreaker” COSI Settlement

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    1         Incorporated by reference is the detailed history provided in the EPPs’ Motion
    2   for Final Approval (ECF No. 2552-1 at 7-14). The key terms and conditions of the
    3   COSI Settlement as to any Fee and Expense Award sought by the EPPs and Class
    4   Counsel remain unchanged. Jt. Stip., ¶ 8, citing ECF No. 2552-3 at 18-19. However,
    5   the EPPs and Class Counsel elected unilaterally not to seek reimbursement of
    6   attorneys’ fees solely from the COSI Defendants or the COSI Settlement Fund.
    7   Instead, the EPPs moved only for reimbursement of their litigation expenses as of that
    8   date, which the Court awarded in the amount of $4,155,027.67 from the Distribution
    9   Fund. ECF Nos. 2871, 2872. See also n.2, infra. At that time, Class Counsel reserved
   10   their rights to seek reimbursement of attorneys’ fees from any monies recovered from
   11   the Non-Settling Defendants, and to include in the bases for any such fees request the
   12   benefits obtained in the COSI Settlement. Id. Class Counsel now respectfully request
   13   that any attorneys’ fees award be based on the Total Settlement Benefits of $152.2
   14   million.
   15         C.     Arm’s-Length Negotiations of Settlement Agreements
   16         EPPs have been engaged in informal settlement discussions with the Settling
   17   Defendants since mid-2019. Manifold Decl., ¶¶ 17, 18, 22 (including Bumble Bee).
   18                1.     Formal Settlement Discussions with StarKist
   19         Unable to make progress through this informal process, in 2020, the parties
   20   engaged retired United States Magistrate Judge Elizabeth LaPorte of JAMS as a
   21   mediator, but reached no resolution. Id. at ¶ 19. After the partial summary
   22   adjudication, the EPPs and StarKist participated in settlement conferences with
   23   Magistrate Berg on October 4, 2023. Manifold Decl., ¶ 20. No resolution was reached.
   24         As the July 16, 2024 trial date approached, the EPPs and StarKist renewed
   25   settlement efforts. The parties participated in a settlement conference with Magistrate
   26   Berg on April 25, 2024, and again on May 22 and May 23, 2024. Manifold Decl.,
   27   ¶ 21. While these sessions did not result in settlement, the parties agreed to meet again
   28   on June 3, 2024. Id. With the oversight and active participation of Magistrate Berg,

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    1   the EPPs and StarKist reached a settlement in principle at the end of that June 3, 2024
    2   conference, in which the parties agreed to resolve the EPP claims in exchange for
    3   $130 million in cash. Id. In follow-on discussions mediated by Magistrate Berg over
    4   the next two months, the EPPs and StarKist negotiated core settlement issues,
    5   including an 18-month settlement payment schedule beginning with the date of
    6   preliminary approval. Id.
    7                2.     Formal Settlement Discussions with the LC Defendants
    8          On August 7, 2023, the EPPs and the Direct Purchaser Plaintiffs (“DPPs”)
    9   attended a joint settlement conference with LC before Magistrate Berg. Id. at ¶ 23.
   10   That session did not result in settlement. Id. At Lion Companies request, the EPPs and
   11   DPPs attended a joint settlement conference with LC in a private mediation session
   12   overseen by retired United States District Judge Daniel Weinstein of JAMS in San
   13   Francisco, California on June 7, 2024. Id. That session also did not result in
   14   settlement; however, the parties agreed to a further settlement conference before
   15   Magistrate Berg. Manifold Decl., ¶ 23.
   16          On June 17, 2024, with trial imminent, the EPPs and DPPs met with LC (and
   17   their insurers and principals) in a day-long settlement conference before Magistrate
   18   Berg that culminated in the parties reaching a settlement in principle. Id., ¶ 24. During
   19   the session, LC and its founders’ financial conditions were fully evaluated by
   20   Settlement Class Counsel, as well as by Magistrate Berg. Id. The nine-hour mediation
   21   session concluded with an agreement that the Lion Companies would pay $6 million
   22   to the EPP Consumer Classes to resolve the claims against them. Id.
   23   III.   SETTLEMENT TERMS
   24          The $136 million fund created by the StarKist and LC Settlement Agreements,
   25   along with the $16.2 million in benefits from the COSI Settlement, will be used to
   26   make payments to the Settlement Class Members and to pay costs of notice, claims
   27   administration and distribution, attorneys’ fees, expenses, costs, and service awards
   28

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    1   so ordered by the Court.4 See StarKist Settlement Agreement (“SA”) at ¶¶ 1.2, 14.1;
    2   Lion Companies SA at ¶¶ 1.22, 10.9, 10.10, 11.1. Defendants Starkist and LC have
    3   agreed that $1 million and up to $200,000, respectively, from their initial deposits of
    4   funds into the Settlement Fund, which shall occur within 30 days following entry by
    5   the Court of the Preliminary Approval Order, shall be used to pay for notice costs.
    6   Defendants’ remaining deposits into the Settlement Fund will be as provided by their
    7   respective Settlement Agreements, as discussed infra. See StarKist S.A. at ¶ 5.3; Lion
    8   Companies S.A. at ¶ 1.22. The Proposed Settlement Notice and Distribution Plan is
    9   described in detail in Section IV, infra.
   10           A.     The End Payer Plaintiff Settlement Class Is the Same as the
   11                  Certified Consumer Classes
                Under the StarKist and LC Settlement Agreements, the Settlement Class is the
   12
        same as the Consumer Classes certified by the Court:
   13
                All persons and entities who reside in one of the States described in
   14
                paragraphs 113(b) to 113(gg) of the Fourth Consolidated Amended
   15           Complaint, specifically Arizona, Arkansas, California, the District of
   16           Columbia, Florida, Guam, Hawaii, Iowa, Kansas, Maine, Massachusetts,
                Michigan, Minnesota, Mississippi, Missouri, Nebraska, Nevada, New
   17           Hampshire, New Mexico, New York, North Carolina, North Dakota,
   18           Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah,
                Vermont, Virginia, West Virginia, and Wisconsin, who indirectly
   19
                purchased Packaged Tuna in cans or pouches smaller than forty ounces
   20           for end consumption and not for resale, produced by any Defendant or
   21           any current or former subsidiary or affiliate thereof, or any co-
                conspirator during the period from June 1, 2011 to July 1, 2015.
   22
        See ECF No. 1931; StarKist SA, ¶ 1.8; Lion Companies SA, ¶ 3; see also ECF No.
   23
        2871 (Order approving the COSI Settlement).5 The only difference is that the
   24
        Settlement Class excludes the opt-outs so ordered by the Court and includes the three
   25
   26   4
            Capitalized terms are defined within the StarKist and Lion Settlement Agreements.
   27   5
          Excluded from the Class are all governmental entities, Defendants’ parent,
   28   subsidiary or affiliate thereof, their officers, directors, employees, and immediate
        families, as well as any federal judges or their staffs. Id.
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    1   individual Illinois Plaintiffs. See ECF Nos. 3120, 2871. The Settlement Class Counsel
    2   and Settlement Class Representatives are also the same as Class Counsel and Class
    3   Representatives previously appointed by the Court in the Class Order. ECF No. 1931;
    4   StarKist SA, ¶ 1.26; Lion Companies SA, ¶ 3. As the Court previously found that the
    5   Consumer Classes meet the requirements of Rule 23(a) (numerosity, common
    6   questions, typicality and adequacy) and that the requirements of Rule 23(b)(3)
    7   (common issues predominate as to antitrust violation, impact and damages, and a class
    8   action is superior to other methods of adjudication), the same Settlement Class meets
    9   these requirements. ECF No. 1931 at 46-58; see also ECF No. 2871 at 6.
   10         B.     Key Terms in the Settlement Agreements
   11                1.    The StarKist Settlement Agreement
   12         Payment Schedule. The StarKist Settlement Agreement provides that StarKist
   13   will pay $130 million in cash on the following schedule: within 30 days after
   14   preliminary approval - $32,000,000.00; prior to the Fairness Hearing also referred to
   15   as the “Final Approval Hearing” in StarKist SA, ¶1.24 - $18,000,000.00; within 180
   16   days after Preliminary Approval - $15,000,000.00; within 240 days after Preliminary
   17   Approval - $12,000,000.00; within 300 days after Preliminary Approval -
   18   $11,000,000.00; within 360 days after Preliminary Approval - $11,000,000.00; within
   19   420 days after Preliminary Approval - $11,000,000.00; within 480 days after
   20   Preliminary Approval - $10,000,000.00; and within 500 days after Preliminary
   21   Approval - $10,000,000.00. See StarKist SA, ¶ 1.24. Up to $1,000,000 from the first
   22   $32 million cash payment “shall be used for settlement notice and administration of
   23   claims.” StarKist SA, ¶¶ 1.24, 5.3.
   24         Released Claims. The Released Claims are those “arising out of, resulting
   25   from, or in any way related to EPPs’ purchases of Packaged Tuna, including any
   26   conduct concerning the pricing, selling, discounting, marketing, manufacturing,
   27   distribution, or promotion, of Packaged Tuna, during the period from June 1, 2011 to
   28   July 31, 2015.” Id. at ¶ 1.21 The Released Claims also include all claims that could

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    1   have been brought based in whole or in part on the facts, occurrences, transactions, or
    2   other matters that were alleged in the Complaint. Id. The StarKist Settlement
    3   Agreement also contains a waiver of California Civil Code § 1542. Id. at ¶ 8.2.
    4         Attorneys’ Fees and Expenses. As to Settlement Class Counsel’s Attorneys’
    5   Fee and Expenses, “the allowance or disallowance by the Court” of any application
    6   is not part of the Settlement Agreement and will “be considered by the Court
    7   separately” as part its consideration of fairness, reasonableness and adequacy of the
    8   settlement. StarKist SA, ¶ 14.1. Any order relating to the application for fees and
    9   expenses “shall not operate to terminate or cancel” the Settlement Agreement or
   10   “delay the finality of the Judgment.” Id.
   11                2.    The LC Settlement Agreement
   12         Payment Schedule. The Lion Companies have agreed to pay the EPPs $6
   13   million in cash. Lion Companies SA, ¶ 1.22. The Lion Companies will deposit $3
   14   million in the Escrow Account thirty within (30) days after Preliminary Approval and
   15   the final $3 million within forty-five (45) days of Final Approval. Id. Up to $200,000
   16   of the first $3 million cash payment “shall be used for [settlement] notice and
   17   administration of claims.” Lion Companies SA, ¶ 1.22.
   18         Released Claims The Released Claims must arise out of, result from or relate
   19   to “any conduct concerning the pricing, selling, discounting, manufacturing,
   20   distribution, promotion, or marketing of Packaged Tuna Products during the period
   21   from June 1, 2011 to July 31, 2015 that could have been brought based in whole or in
   22   part on the facts, occurrences, transactions, or other matters that were alleged in the
   23   Complaint.” Lion Companies SA, ¶ 1.19.
   24         Attorneys’ Fees and Expenses As to Settlement Counsel’s Attorneys’ Fee and
   25   Expenses, the LC Settlement Agreement is substantially similar to the StarKist
   26   Settlement Agreement. “[T]he allowance or disallowance by the Court” of any fee or
   27   expense application is not part of the Settlement Agreement and should be considered
   28   separately by the Court. Lion Companies S.A., ¶ 14.1. Any order relating to the

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    1   application for fees and expenses “shall not operate to terminate or cancel” the
    2   settlement or “delay the finality of the Judgment.” Id.
    3         C.        Request for Attorneys’ Fees and Expense Award
    4         EPPs will separately seek an award of attorneys’ fees not to exceed one-third
    5   of the Total Settlement Fund ($152.2 million), net of any Fees, Expenses, Costs or
    6   Service Awards so ordered by the Court. As to timing, Settlement Class Counsel
    7   request that payment of any Attorneys’ Fees Award follow the same payment
    8   schedule and portion of the settlement paid as set forth in the StarKist Settlement
    9   Agreement. StarKist SA, ¶ 1.24; see also § II.B, supra. Counsel request that the first
   10   payment of any Attorneys’ Fees Award so ordered by the Court be paid five (5) days
   11   following the Court’s Order. See StarKist SA, ¶ 14.1 (permitting payment five days
   12   after award).
   13         The requested Expense Award breaks down as follow: (i) reimbursement of
   14   plaintiffs’ counsel’s reasonable costs and litigation expenses incurred since May 2021
   15   in the amount of $1,618,489.24; and (ii) a request that $206,379.11 of that amount be
   16   distributed to COSI as a reimbursement for administration costs that will be common
   17   to both the proposed settlements and the COSI Settlement. Manifold Decl., ¶ 43; see
   18   also n.2, supra. This request by COSI is in accordance with the terms of the COSI
   19   Settlement Agreement. Id. The total requested Expense Award is $1,618,489.24. As
   20   to timing, Settlement Class Counsel request that any Expense Award so ordered by
   21   the Court be paid five (5) days following the Court’s Order. See StarKist SA, ¶ 14.1
   22   (permitting payment five days after award subject to any undertaking required by the
   23   Court in the event of an appeal); Lion Companies SA, ¶ 14.1 (same).
   24         These requested awards, if so ordered by the Court, will be paid out of the Total
   25   Settlement Fund. The Settlement Class Notice (Long Form) (discussed, infra at §
   26   IV.C.) will advise Settlement Class Members of these requests, their amounts, and the
   27   timing for payment. Additionally, Class Counsel will publish on the Settlement
   28   Website and submit full briefing supporting their request for attorneys’ fees and

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    1   expenses a minimum of twenty-one (21) days before the Objection Deadline. The
    2   timing provides time for Settlement Class Members to consider this briefing before
    3   the deadline. Settlement Class Counsel will not receive any payment unless the Court
    4   grants the fee request.
    5          Proposed Attorneys’ Fees in the amount of one-third (33 1/3%) of the Total
    6   Settlement Fund (after netting out costs) is within the range of reasonableness. In re
    7   Capacitors Antitrust Litig., No. 3:14-cv-03264-JD, 2023 WL 2396782 (N.D. Cal.
    8   Mar. 6, 2023), supports the reasonableness of this request, given the late stage at
    9   which settlement was reached and the substantial recovery to the Settlement Class
   10   that was achieved. In the Capacitors matter, the proposed $66,000,000 in attorneys’
   11   fees amounted to 40% of the Settlement Fund created by that round of settlements,
   12   and a cumulative 31.01% of the total settlements reached for the benefit of the class.
   13   The one-third requested here is well within the range of reasonable fees awards,
   14   especially in light of the complexity of antitrust cases and the degree of work and skill
   15   required to obtain highly beneficial results for the Settlement Class. See, e.g., In re
   16   Lenovo Adware Litig., No. 15-md-02624-HSG, 2019 WL 1791420, at *7-9 (N.D. Cal.
   17   Apr. 24, 2019) (30% of $8,300,000 recovery); In re Lithium Ion Batteries Antitrust
   18   Litig., No. 13-md-02420-YGR, 2018 WL 3064391, at *1 (N.D. Cal. May 16, 2018)
   19   (30% of $139,000,000 recovery); In re TFT-LCD (Flat Panel) Antitrust Litig., No. M
   20   07-1827 SI, 2013 WL 149692, at *2 (N.D. Cal. Jan. 14, 2013) (30% of $68,000,000
   21   recovery); Meijer, Inc. v. Abbott Lab’ys, No. C-07-05985 CW, 2011 WL 13392313,
   22   at *2 (N.D. Cal. Aug. 11, 2011) (33 1/3% of $52,000,000 recovery).6
   23   6
          See also, e.g., In re Polyurethane Foam Antitrust Litig., No. 1:10 MD 2196, 2015
   24   WL 1639269, at *7 (N.D. Ohio Feb. 26, 2015) (30% of $147,800,000 recovery); In
   25   re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1366 (S.D. Fla. 2011)
        (30% of $410,000,000 recovery); In re Linerboard Antitrust Litig., No. MDL 1261,
   26
        2004 WL 1221350, at *19 (E.D. Pa. June 2, 2004) (30% of $202,572,489 recovery);
   27   In re Ikon Off. Sols., Inc. Sec. Litig., 194 F.R.D. 166, 170 (E.D. Pa. 2000) (30% of net
   28   $116,000,000 recovery); In re Broiler Chicken Antitrust Litig., No.16 C 8637, 2024
        WL 3292794, at *3 (N.D. Ill. July 3, 2024) ($51,660,000.00, which was 30% of the
        (continued…)
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    1         D.     Service Award to Named Plaintiffs
    2         The individual Plaintiffs have played a vital role in this litigation, including
    3   providing answers to interrogatories, appearing for deposition, providing declarations
    4   re: class standing, and preparing to appear at trial this July. Manifold Decl., ¶ 25.
    5   Each of them has been personally involved throughout this nine-year litigation, and
    6   they all support the proposed Settlements. Id. EPPs will separately petition the Court
    7   to award the individual EPPs service awards in amounts that reflect their contributions
    8   to the case. Id. at ¶ 26. The total amount requested for service awards is $294,000
    9   which is insignificant (0.19%) in light of the substantial Total Settlement Fund
   10   ($152.2 million). The Service Award tiers break down as follows: $3,000 (Tier 1);
   11   $6,000 (Tier 2); and $9,000 (Tier 3). Id. at ¶ 26 (detailed breakdown of tier
   12   calculation). All of the EPPs who participated in discovery and provided class
   13   standing declarations will receive a service award of $3,000 (Tier 1). Id. For the EPPs
   14   who sat for deposition as part of the class certification process, the EPPs will seek a
   15   higher award of $6,000 (Tier 2). Id. at ¶ 27. For the EPPs who were deposed more
   16   than once (EPP Drew Gorman), acted as the plaintiff representative in the Bumble
   17   Bee bankruptcy proceeding, or were prepared to appear at trial in July, the EPPs will
   18   seek an award of $9,000 in recognition of the more significant time, effort and
   19   expense devoted to this litigation. Id. Finally, three individual plaintiffs from Illinois
   20   participated in discovery; to compensate them for their services, the EPPs will request
   21   a service award of $1,000 each for a total of $3,000. Id. at ¶ 28.
   22         “Empirical evidence shows that incentive awards are now paid in most class
   23   suits and average between $10,000 to $15,000 per class representative.” 5 Newberg
   24   and Rubenstein on Class Actions, Incentive awards—Generally, § 17:1 (6th ed.).
   25   Courts generally look at what services the class representatives have rendered
   26   (discovery, depositions, preparation for appearance at trial) and what percentage of
   27   the fund requested service awards will constitute (0.19% in this case). The baseline
   28
        settlement fund after deducting the expenses and incentive awards).
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    1   test is reasonableness. Service awards are “intended to compensate class
    2   representatives for work undertaken on behalf of a class” and “are fairly typical in
    3   class action cases.” In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 943 (9th
    4   Cir. 2015) (internal quotation marks and citation omitted). See also In re Apple Inc.
    5   Device Performance Litig., 50 F.4th 769, 786 (9th Cir. 2022) (reciting the Stanton
    6   factors and ultimately finding that “[s]o long as they are reasonable, [service awards]
    7   can be awarded”). The requested awards are in line with service awards awarded in
    8   other class actions. See Birch v. Off. Depot, Inc., No. 06 CV 1690 DMS (WMC), 2007
    9   WL 9776717, at *2 (S.D. Cal. Sept. 28, 2007) (awarding two named plaintiffs service
   10   awards of $15,000 and $10,000 respectively).7
   11         EPPs’ request for Service Awards is reasonable, consistent with other service
   12   awards in this district, and easily falls within the range of possible approval.
   13         E.     Agreements Required to Be Identified Under Fed. R. Civ. P. 23(e)(3)
   14         All the terms of the proposed settlements are contained within the respective
   15   Settlement Agreements attached as Exhibits 1 and 2 to the Manifold Declaration.
   16   Plaintiffs have not entered into any additional agreements with any of the Settling
   17   Defendants in connection with the proposed settlements.
   18   IV.   PROPOSED NOTICE AND CLAIMS DISTRIBUTION PROCCESS
   19
   20   7
          See also In re BofI Holding, Inc. Sec. Litig., No. 315CV02324GPCKSC, 2022 WL
   21   9497235, at *8 (S.D. Cal. Oct. 14, 2022) (granting $15,000 service award after 6 years
        of litigation where plaintiff “expended ‘significant time and effort on the litigation
   22
        and face[d] the risk of retaliation [and] other personal risks....’” and the service award
   23   was .1% of the total $14,100,000 recovery.”) and Winters v. Two Towns Ciderhouse,
   24   Inc., No. 20-CV-00468-BAS-BGS, 2021 WL 1889734, at *3 (S.D. Cal. May 11,
        2021) (grant of incentive awards of $7,500 for a named plaintiff who “was the first
   25   plaintiff in the case, assisted with drafting pleadings, helped with informal discovery,
   26   sent the cans of product he had retained to the lab for testing, and attended the
        mediation that resulted in this settlement,” and $5,000 for a plaintiff who “regularly
   27   discussed the case with his lawyers, assisted in informal discovery, helped in drafting
   28   the Second Amended Complaint and stayed in touch with his attorneys during
        settlement discussions.”)
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    1         Notice will be given to the Settlement Class via email, posting on the
    2   Settlement Website, and by digital publication.
    3         A.     An Experienced and Well-Respected Claims Administrator
    4         The EPPs again retained an experienced and well-respected claims
    5   administrator, JND Legal Administration, LLC (“JND”), and prepared a
    6   comprehensive and robust settlement notice plan to notify the Settlement Class. The
    7   Court previously approved JND as Claims Administrator for the COSI Settlement and
    8   to disseminate the Class Notice. ECF Nos. 2734 and 2781. Their prior experience in
    9   this case promotes greater efficiency.
   10         EPPs also retained JND to handle the settlement claims process and
   11   administration. JND is a nationally recognized claims administration firm that has
   12   successfully handled claims processing for complex class actions, including
   13   settlements requiring extensive media campaigns to large consumer classes. See ECF
   14   No. 2552-6 (reciting JND’s class action claims administration experience).
   15         B.     The Proposed Notice Plan Will Reach 70% of the Settlement Class
   16         JND will provide direct notice to Class Members who filed claims in the COSI
   17   Settlement, combined with a four-week media campaign that is estimated to reach
   18   over 70% of likely Settlement Class Members. Declaration of Gina Intrepido-Bowden
   19   (“Intrepido-Bowden Decl.”), ¶ 8. The media campaign includes an extensive digital
   20   effort, publication in People magazine, direct notice, an interactive case website, and
   21   a 24-hour toll-free number. Id., ¶¶ 14-23. The FJC’s Judges’ Class Action Notice and
   22   Claims Process Checklist and Plain Language Guide (“FJC Checklist”) considers a
   23   Notice     Plan    with    a    high     reach    (above    70%)      effective.   Id.,
   24   ¶ 7. This is a remarkable reach considering the following challenges: the Settlement
   25   Class consists of over 100 million consumers who purchased mostly 5 ounce cans of
   26   tuna; the earliest of the purchases took place nearly 10 years ago, from June 1, 2011
   27   through July 1, 2015; records of purchases from retailers have long become stale, if
   28   they exist at all; most consumers do not have records of grocery purchases from that

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    1   long ago; and some Class Members have moved, aged or passed away. Manifold Decl.
    2   ¶ 34.
    3           C.    The Proposed Form of Notice Is Appropriate
    4           Rule 23(e)(1)(B) requires the Court to “direct notice in a reasonable manner to
    5   all class members who would be bound by a proposed settlement…” regardless of
    6   whether the class was certified under Rule 23(b)(3). Manual for Complex Litigation,
    7   § 21.312 (4th ed. 2023). The best practicable notice is that which is “reasonably
    8   calculated, under all circumstances, to apprise interested parties of the pendency of
    9   the action and afford them an opportunity to present their objections.” Mullan v. Cent.
   10   Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950). The notice must contain specific
   11   information in plain, easily understood language, including the nature of the action
   12   and the rights of the class members. Fed. R. Civ. P. 23(c)(2)(B)((i)-(vii).
   13           The proposed form of the settlement notice complies with Fed. R. Civ. P. 23(c).
   14   See Intrepido-Bowden Decl., Ex. G (Settlement Class Notice (Long Form)).
   15   Consistent with Rule 23(c)(2)(B), the proposed notice describes “(i) the nature of the
   16   action; (ii) the definition of the [Settlement] Class certified; (iii) the class claims,
   17   issues, or defenses; (iv) [a directive] that a Settlement Class Member may enter an
   18   appearance through an attorney if the member so desires; and (v) the binding effect
   19   of judgment on members [of the Settlement Class] under Rule 23(c)(3).” Fed. R. Civ.
   20   P. 23(c)(2)(B); Intrepido-Bowden Decl., Ex. G. The Settlement Class was given two
   21   prior opportunities to request exclusion: at the Class Certification stage, and as part
   22   of the COSI Settlement. See ECF Nos. 2871, 3120.
   23           The Settlement Notice also provides the terms of any proposed award of
   24   attorneys’ fees, costs, expenses, and service awards and timing, and provides an
   25   opportunity for Settlement Class Members to object to either the Settlements or the
   26   proposed fees, expenses, and service awards. Intrepido-Bowden Decl., Ex. G at ¶¶ 1-
   27   2, 7-8. Class Counsel will publish on the Settlement Website and submit full briefing
   28   supporting their request for attorney fees’ and expenses and service awards a

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    1   minimum of twenty-one (21) days before the Objection Deadline. This will allow
    2   Settlement Class Members time to consider the motion before the objection deadline.
    3         D.     The Proposed Distribution Plan
    4         Each Authorized Claimant in the Settlement Class “shall receive a pro rata
    5   share of the Distribution Funds as described in the Settlement Class Notice.”8 Id. ¶
    6   29, Ex. G, ¶ 7. Payments to Authorized Claimants will not be immediately distributed
    7   but held until all settlement amounts have been paid by the Settling Defendants as
    8   required by the Settlement Agreements. See also Intrepido-Bowden Decl., ¶ 41. It is
    9   not efficient to make multiple distributions, with the costs of claims administration, it
   10   is more efficient to delay distribution until all settlement funds are received.9 Id.
   11         Once the Court grants final approval of the StarKist and LC Settlements, all
   12   appeals are exhausted, and all monies are collected under the Settlement Agreements,
   13   JND will distribute payments as specified on the claimant’s Claim Form. See
   14   Intrepido-Bowden Decl. ¶ 32, Ex. H (Claim Form). JND will send payments to the
   15   address (check) or email (electronic payment such as via PayPal) provided by the
   16   claimant on the Claim Form. Id. As noted on the Claim Form (and Settlement Class
   17
        Notices), if the total final payment of a particular claim is less than $5.00, no
   18
        distribution will be made to the Authorized Claimant. Id. ¶ 33, Ex. H, Ex. G, ¶ 8
   19
        (“What can I get from the StarKist and LC Settlements?”). It is typical to provide
   20
        for such a de minimis claim threshold so that the costs of administration are not out
   21
        of proportion to the size of the payments. Id.
   22
              E.     The Claims Process: Access to Online Submission of Claim Forms
   23
   24
        8
   25    “Distribution Funds” refers to the Total Settlement Benefits ($152.2 million), less
        notice and administration costs, and any attorneys’ fees, cost and litigation expenses
   26
        and Service Awards awarded by the Court.
   27   9
         Settlement Class Members are expected to receive approximately $24.50 for every
   28   200 cans purchased (approximate number of cans if you purchased packaged tuna
        weekly) Intrepido-Bowden Decl., Ex. G, ¶ 8.
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    1         The digital ads will include an embedded link and the print ad a QR code, both
    2   of which allow Settlement Class Members to receive more information about the
    3   StarKist and LC Settlements as well as complete and file an online Claim Form.
    4   Intrepido-Bowden Decl., ¶¶ 16, 24, Ex. H (Claim Form). The same claims process
    5   was approved by the Court in the COSI Settlement. ECF No. 2781. The Settlement
    6   Notice documents also provide a toll-free number to contact JND with any questions.
    7   Id. at Ex. H. According to Ms. Intrepido-Bowden, Vice President at JND Legal
    8   Administration and a judicially recognized legal notice expert, claimants “generally
    9   favor online claims forms” because the process is user-friendly and convenient. Id.,
   10   ¶¶ 1-2, 25-26. Online claim processing is faster, easier, more efficient, and results in
   11   fewer deficiencies. Id. at ¶25. If a Settlement Class Member is either unable or
   12   unwilling to file a claim on-line, she may request a printed claim form and either
   13   return it to JND via United States Mail (post-marked before the Claims Cut-off Date)
   14   or create a pdf of the completed Claim Form and e-mail it to JND (before the Claims
   15   Cut-off Date). Id., ¶ 27-28.
   16         Next, JND will review, determine the validity of, process and hold on to all
   17   Claim Forms submitted by claimants. Id., ¶ 31. JND will flag any issues (such as
   18   failure to sign a paper or pdf Claim Form) and follow up with the claimant as
   19   necessary. Id. JND will also review the Claim Forms to ensure submission by a single
   20   claim per claimant. Id. (avoiding doctored documentation and multiple payments to a
   21   single recipient).
   22         F.     Objection Rights
   23         Class Members may object to the settlement by filing an appropriate and timely
   24   written statement of the grounds for objection. Intrepido-Bowden Decl., ¶ 39, Ex. G
   25   at ¶ 12-13. They may also appear at the Fairness Hearing. Id. at ¶ 39, Ex. G at 16-18.
   26   Attorneys for objectors must submit an appropriate and timely written statement of
   27   representation and the grounds for objection. Id. at ¶ 39.
   28         G.     No Further Exclusion or Opt-Out

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    1          Due process only requires that class members be given a single opportunity to
    2   opt out of a class. Low v. Trump Univ., LLC, 881 F.3d 1111, 1121 (9th Cir. 2018). A
    3   member who has failed to exclude herself at the class certification stage is not entitled
    4   to exercise that option at the settlement stage. Id., citing Officers for Just. v. Civ. Serv.
    5   Comm’n of City & Cnty. of San Francisco, 688 F.2d 615, 635 (9th Cir. 1982). Here,
    6   Settlement Class Members were given two prior opportunities to request exclusion.
    7   See ECF Nos. 3120 (Order re: Class Notice Opt Out Report); 2871 (Order re: COSI
    8   Settlement). Two opportunities satisfies class members’ due process rights.
    9   V.     ARGUMENT
   10          The Court’s approval is required for any settlement of a class action. Carlin v.
   11   DairyAmerica, Inc., 380 F. Supp. 3d 998, 1008 (E.D. Cal. 2019) (citing Fed. R. Civ.
   12   P. 23(e)). There are multiple steps to the approval process. Id. First, the Court must
   13   determine whether the settlement warrants preliminary approval. Id. Preliminary
   14   approval is appropriate if the Court determines that it is likely to (i) certify the
   15   settlement class and (ii) grant final approval to the settlement. Fed. R. Civ. P.
   16   23(e)(1)(B). Since the Court previously certified the Consumer Classes, which are
   17   now the Settlement Class in the proposed settlements, minus prior opt-outs,
   18   certification of the Settlement Class is appropriate for all of the reasons set forth in
   19   the Class Order. See ECF No. 1931, upheld on appeal in Olean Wholesale Grocery
   20   Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 684-685 (9th Cir.), cert. denied
   21   sub nom. StarKist Co. v. Olean Wholesale Grocery Coop., Inc., et al., 143 S. Ct. 424
   22   (2022). If the Court grants preliminary approval, then it must order that settlement
   23   notice be given to the prospective class members. Carlin, 380 F. Supp. 3d at 1008.
   24   Once notice is complete, the Court must hold a fairness hearing to determine whether
   25   final approval is warranted.
   26          A.     The Court is Likely to Approve the Settlement
   27          The Court must consider whether it is likely to approve the settlements at the
   28   fairness hearing. Fed. R. Civ. P. 23(e)(1)(B)(i). In making this assessment, the Court

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    1   need not conduct a full-fledged inquiry into whether it would grant final approval to
    2   the Settlement. Instead, the Court need only consider whether the proposed Settlement
    3   is “possibly fair, reasonable, and adequate.” See In re Prudential Sec. Inc. Ltd. P’ships
    4   Litig., 163 F.R.D. 200, 209 (S.D.N.Y. 1995); see also In re Volkswagen “Clean
    5   Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig., 895 F.3d 597, 610 (9th Cir. 2018)
    6   (“VW Clean Diesel Mktg. Litig.”) (“A proposed settlement that is ‘fair, adequate and
    7   free from collusion’ will pass judicial muster.”). A court should grant preliminary
    8   approval of a settlement if it determines that “the proposed settlement is within the
    9   range of possible approval.” Am. Int’l Grp., Inc. v. ACE INA Holdings, Inc., No. 07 C
   10   5 2898, 2011 WL 3290302, at *6 (N.D. Ill. July 26, 2011); Fed. R. Civ. P. 6
   11   23(e)(1)(B).
   12         The Ninth Circuit has identified the following factors, commonly referred to as
   13   the Churchill Village factors, in assessing whether a class settlement is fair:
   14         (1) the strength of the plaintiff’s case;
   15         (2) the risk, expense, complexity, and likely duration of further litigation;
   16         (3) the risk of maintaining class action status throughout the trial;
   17         (4) the amount offered in settlement;
   18         (5) the extent of discovery completed and the stage of the proceedings;
   19         (6) the experience and views of counsel;
   20         (7) the presence of a governmental participant; and
   21         (8) the reaction of the class members to the proposed settlement.
   22   In re Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (“In re
   23   Bluetooth”) (quoting Churchill Vill., L.L.C. v. Gen. Elec., Co., 361 F.3d 566, 575 (9th
   24   Cir. 2004)); Chen v. Chase Bank USA, N.A., No. 19-cv-01082, 2020 WL 3432644, at
   25   *4 (N.D. Cal. June 23, 2020). Rule 23(e)(2) also requires courts to consider whether:
   26   (1) class representatives and counsel have adequately represented the class; (2) the
   27   proposal was negotiated at arm’s-length; (3) the settlement provides adequate relief
   28   for the class; and (4) the proposal “treats class members equitably relative to each

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    1   other.” These factors are not exclusive. This Court may consider any combination of
    2   factors that it deems appropriate to assess the fairness of the settlement. Bellinghausen
    3   v. Tractor Supply Co., 306 F.R.D. 245, 254 (N.D. Cal. 2015) (discussing Churchill
    4   Village factors); Chen, 2020 WL 3432644, at *4 (noting that “different factors may
    5   predominate in different factual contexts”). The totality of the factors show that these
    6   Settlements are well within the range of possible approval.
    7                1.     The Churchill Village Factors Favor Preliminary Approval
    8         Under the first Churchill Village factor, this Court considers the strength of
    9   plaintiffs’ case. See Fed. R. Civ. P. 23(e)(2)(C). This includes the difficulty of
   10   prevailing at trial, “prevailing on appeal, as well as the difficulty of satisfying any
   11   judgment in favor of the class.” Carlin, 380 F. Supp. 3d at 1009. In considering this
   12   factor, the Court need not reach “any ultimate conclusion about” the case, “for it is
   13   the very uncertainty of outcome” and avoiding more litigation “that induce consensual
   14   settlements.” Bravo v. Gale Triangle, Inc., No. CV 16-03347 BRO (GJSx), 2017 WL
   15   708766, at *9 (C.D. Cal. Feb. 16, 2017). As discussed in Section II. A. above, the case
   16   against the Settling Defendants regarding liability is strong. EPPs must, however,
   17   balance the strength of their case against the second Churchill factor: the risk,
   18   expense, complexity and delay of further litigation such as the risks of an adverse
   19   verdict at trial and further appeal. Fed. R. Civ. P. 23(e)(2)(C)(i). “In most situations,
   20   unless the settlement is clearly inadequate, its acceptance and approval are preferable
   21   to lengthy and expensive trial with uncertain results as to specific damages.” Bravo,
   22   2017 WL 708766, at *9 (internal quotations and citation omitted).
   23         Notwithstanding the guilty pleas, criminal convictions and partial summary
   24   judgment, Consumers still needed to prove their damages at trial. EPPs also needed
   25   to prove the extent of the conspiracy and whether DWI and LC were liable along with
   26   StarKist. Proving liability and class-wide damages for the entire Class Period would
   27   inevitably result in a lengthy and costly ‘battle of the experts’ at trial. Even if
   28   successful at trial, with potential treble damages of over $600 million, the Settling

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    1   Defendants may not have been able to sustain a verdict of that size. Bumble Bee had
    2   already declared bankruptcy, leaving a shell from which no recovery could be
    3   achieved. All of these facts weigh in favor of preliminary approval.
    4            The third factor, the risk of maintaining class certification through trial, also
    5   weighs in favor of preliminary approval. In re Bluetooth, 654 F.3d at 946; Belling-
    6   hausen, 306 F.R.D. at 255 (citing risk of maintaining certification “if the litigation
    7   were to proceed”); Chen, 2020 WL 3432644, at *4 (same). Class certification was
    8   hotly contested. The Class Order was appealed to Ninth Circuit, it was reviewed en
    9   banc, and an appeal to the Supreme Court was made. The risk of further appeal after
   10   trial weighs in favor of approval.
   11            The fourth Churchill Village factor, the amount obtained, also supports
   12   preliminary approval. See also Fed. R. Civ. P. 23(e)(2)(C). The Total Settlement
   13   Benefits must be viewed in light of the limits on potential recovery. Regression
   14   modeling by the EPPs’ expert, Professor David Sunding, shows single damages equal
   15   to $224 million.10 Trebled, this is approximately $672 million. Based on the maximum
   16   single damages of $224 million for the entire conspiracy period, a total settlement
   17   recovery of $152.2 million is nearly 68% of the maximum single damages and over
   18   20% of the maximum treble damages. “Maximum” damages are based on several
   19   assumptions: the jury believes the EPPs’ damages expert (not the Settling Defendants’
   20   expert); and the jury awards full damages for all states. Settling Defendants repeatedly
   21   called the EPPs’ damage analysis an incredible “over-reach” by the Consumers. EPPs
   22   faced substantial risks at trial.
   23            These proposed settlements compare favorably with other antitrust and class
   24   action settlements that have received preliminary approval. In Rodriguez v. W. Publ’g
   25   Corp., 563 F. 3d 948 (9th Cir. 2009), the Court of Appeals upheld approval of an
   26   antitrust settlement that was only 30% of the calculated single damages as fair,
   27   reasonable, and adequate. Id. at 955, 957, 964. See also In re Lithium Ion Batteries
   28
        10
             See Expert Merit Report of David Sunding dated Feb. 15, 2019, p. 17, Table 2.
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    1   Antitrust Litig., No. 4:13-md-02420-YGR (DMR), 2017 WL 1086331, at 4* (N.D.
    2   Cal. Mar. 20, 2017) (Overruling objections, the Court agreed that “the settlement
    3   represents 11.2% of the single damages attributable to Sony sales” and that the
    4   possibility of the settlement being higher does not mean it was not fair and
    5   reasonable.); In re Cathode Ray Tube (CRT) Antitrust Litig., No. 14-CV-2058 JST,
    6   2017 WL 565003, at *4, *6 (N.D. Cal. Feb. 13, 2017) (granting preliminary approval
    7   of settlement representing 24% of single damages, and previously finding 20% of
    8   single damages to be a good recovery in other cases.)
    9         The fifth and sixth Churchill Village factors also support preliminary approval.
   10   This litigation began over nine years ago and was settled on the eve of trial. Because
   11   of the procedural posture of this case, EPPs were in the best position to evaluate the
   12   value of the Settlements. See Bravo, 2017 WL 708766 at *11 (finding that extensive
   13   discovery shows that counsel fully understand case’s factual and legal issues).
   14   Furthermore, EPPs are represented by Settlement Class Counsel with substantial
   15   experience in litigating and evaluating antitrust class actions. Manifold Decl., ¶ 3.
   16   Counsel is ready and able to try this case to verdict but believe this to be an excellent
   17   settlement under the circumstances and support its approval. Id. Their views and
   18   experience also weigh in favor of approval.
   19         The final two Churchill Village factors – the presence of a governmental
   20   participant and the Class Members’ reactions – need not be considered at this time.
   21   While the DOJ brought criminal charges, it did not seek restitution in any of its cases.
   22   The Settlement Agreement(s) require the Defendants to serve CAFA notices on DOJ
   23   and any relevant states, providing them the opportunity to “raise any concerns that
   24   they have during the normal course of the class action settlement procedures.”
   25   Bellinghausen, 306 F.R.D. at 258; Manifold Decl. ¶ 40; see also Procedural Guidance
   26   for Class Action Settlements § 10 (CAFA compliance). Settlement Class Members
   27   will also have the opportunity to object and provide feedback at the Fairness Hearing.
   28   The Court can therefore defer consideration of the final two Churchill Village factors

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    1   until the Fairness Hearing.
    2                2.     The Rule 23(e) Factors Support Preliminary Approval
    3         As noted above, in addition to the Churchill Village factors, Rule 23(e)(2)
    4   requires courts to consider whether: (1) class representatives and counsel have
    5   adequately represented the class; (2) the proposal was negotiated at arm’s-length;
    6   (3) the settlement provides adequate relief for the class; and (4) the proposal “treats
    7   class members equitably relative to each other.”
    8         First, after nine years of hard-fought litigation with the active participation of
    9   the Class Representatives throughout, they and Counsel have adequately represented
   10   the Settlement Class. See also ECF No. 1931 (Class Order).
   11         Second, considering whether the Settlement resulted from arm’s-length
   12   negotiations, courts often find it useful to look at issues including “an agreement by
   13   the defendant not to contest class counsel’s attorney’s fees” or “an agreement to allow
   14   unawarded attorneys’ fees to revert to the defendants.” In re Volkswagen “Clean
   15   Diesel” Mktg. Litig., 895 F.3d at 611 & n.19 (citing In re Bluetooth, 654 F.3d at 947);
   16   Procedural Guidance for Class Action Settlements, §1(h). Here, the fees are within
   17   the range requested for similar cases and there is no reversion or “clear sailing”
   18   agreement with the Settling Defendants. See StarKist SA, ¶ 14.1, ¶ 14.2, ¶ 14.3.
   19   Therefore, these concerns are moot. The extensive settlement negotiations supervised
   20   by Magistrate Berg on the eve of trial and the terms of the Settlement Agreements
   21   make clear that the proposed settlements are not the result of collusion. Manifold
   22   Decl., ¶¶ 3-8, 17-24.
   23         Third, the amount recovered ($152.2 million) is more than adequate based on
   24   its equivalence to nearly 68% of the maximum single damages as calculated by the
   25   EPPs’ damages expert. Id. Taking into account the substantial trial costs (multiple
   26   experts, IT Support, and other logistics such the EPPs’ travel expenses) along with
   27   the very real risks of taking an antitrust case to verdict, long post-trial appeals, and
   28   collectability issues, the proposed settlements provide adequate relief. See Fed. R.

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    1   Civ. P. 23(e)(2)(C)(i). The effectiveness of distributing relief to the Settlement Class
    2   Members is discussed in Section D below. See Fed. R. Civ. P. 23(e)(2)(C)(ii). The
    3   Settlement Notices and Settlement Website will provide substantial detail as to the
    4   terms of the requested attorneys’ fees, costs, expenses and service awards, including
    5   the timing of payment. See Fed. R. Civ. P. 23(e)(2)(C)(iii); Intrepido-Bowden Decl.,
    6   Exs. A-G (various forms of settlement notice), and § III. C. and IV. C., supra. All
    7   short form settlement notices provide links to access these terms in further detail. Id.
    8   Next, all agreements made “in connection with” the settlement proposal have been
    9   identified. See Fed. R. Civ. P. 23(e)(2)(C)(iv) and (3); See § III. F., supra.
   10         Finally, the Settlement Agreements treat class members equitably, providing
   11   pro rata distribution of the Settlement Fund after deduction of any Court-ordered
   12   awards. Therefore, the StarKist and LC Settlement Agreements satisfy Rule 23(e).
   13         B.     EPPs’ Settlement Class Notice Provides the Opportunity to Object,
   14                and Class Members Had Two Prior Opportunities for Exclusion.
              The Court must also assess whether the notice and claims program is reasonable
   15
        so Class Members can object to the Settlement. See Fed. R. Civ. P. 23(e)(4)-(5). The
   16
        Court previously certified this class action under Rule 23(b)(3) and notice was
   17
        provided, a partial settlement was reached with COSI and second opportunity to opt
   18
        out was provided, and therefore the EPPs have not elected to afford individual Class
   19
        Members a new opportunity to request exclusion if they did not do so previously. See
   20
        Intrepido-Bowden Decl., Ex G at ¶ 11 (Settlement Notice); § III. F., supra.
   21
              The Settlement Notice also explains the objection process to Settlement Class
   22
        Members and informs them that they may appear at the Fairness Hearing or retain
   23
        counsel to represent their interests. Intrepido-Bowden Decl., Ex G at ¶¶ 12-17. Class
   24
        members may appear at the Fairness Hearing or submit a timely and appropriate
   25
        written statement through counsel. Id. at ¶¶ 16-18. JND’s notice plan is robust with a
   26
        70% reach and satisfies due process. Intrepido-Bowden Decl., ¶ 38. The notice,
   27
        objection and previous opt out procedures are also sufficient to satisfy Rule 23.
   28
              C.     The Costs of Administration
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    1         Given its depth of reach, and the need to reach tens of millions of Settlement
    2   Class Members, the Proposed Settlement Notice Plan is not inexpensive. Manifold
    3   Decl., ¶ 39. JND estimates that the Proposed Settlement Notice Plan will cost
    4   approximately $750,000 to $1.2 million. Manifold Decl., ¶ 40. As part of the
    5   preliminary approval order, the EPPs will request permission to pay up to $1.2 million
    6   in reasonable invoices submitted by the Claims Administrator for the media campaign
    7   in the Proposed Settlement Notice Plan prior to final approval. Id. ¶ 39.
    8         JND is also well placed to distribute the settlement funds to the Class when
    9   directed to do so by the Court. EPPs seek to delay distribution until all the monies are
   10   collected as specified in the Settlement Agreements. Distributing all the Settlement
   11   Funds together will reduce the need for multiple rounds of payment and therefore the
   12   administrative cost per Class Member, resulting in larger payments to each Class
   13   Member. Depending on the number of claims received, a preliminary estimate of the
   14   costs of processing claims, running fraud analysis and dispersing the Distribution
   15   Funds is between $1.3 and $5 million. Manifold Decl., ¶ 41.
   16         D.     EPPs’ Claims Process Is Efficient and Reasonable
   17         The Court must also assess the effectiveness of the proposed method of
   18   distributing relief to the class including the method of processing class member claims
   19   to determine if the relief is adequate. See Fed. R. Civ. P. 23(e)(2)(C)(ii). JND has
   20   extensive experience in processing claims, especially for millions of claimants. JND
   21   also has the capacity to distribute monies efficiently to millions of Authorized
   22   Claimants once the Court grants final approval, the judgement is final and all appeals
   23   exhausted, and the Court orders distribution. As discussed in detail above, JND
   24   described its proposed methodologies for claims processing and distribution of funds.
   25   See Intrepido-Bowden Decl., ¶¶ 24-40 and § IV.D.-E., supra. The proposed claims
   26   processing methodologies are convenient for and generally favored by Settlement
   27   Class Members (simple online claim submission), which provides faster claim
   28   processing with fewer deficiencies. Id. ¶ 32. Distribution of relief is equally efficient

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    1   and based on the claimant’s preferred method of payment (PayPal or check). Id. The
    2   effectiveness of JND’s claim processing methodologies favor preliminary approval.
    3         The Class Notices also inform Settlement Class Members that no cash
    4   distribution will be made if a claim is under $5.00. Intrepido-Bowden Decl., ¶ 33. It
    5   is typical to provide for a de minimis threshold so that the costs of administration are
    6   not out of proportion to the size of the claim payment. Id. A claims threshold provides
    7   an incentive for Settlement Class members to cash small checks. Id. In JND’s
    8   experience, it is not usual to see even higher de minimis thresholds. Id.
    9         Courts routinely approve de minimis thresholds for claims processing and
   10   distribution and consider threshold payments to be “accepted as a feature of class
   11   action distributions.” In re Dynamic Random Access Memory (DRAM) Antitrust
   12   Litig., No. C 06-4333 PJH, 2013 WL 12333442, *81 (N.D. Cal. Jan. 8, 2013).
   13         E.     The Court Should Order Notice and Schedule the Fairness Hearing
   14         Because preliminary approval is in order, the Court should order that notice be
   15   given and schedule a Fairness Hearing. EPPs ask the Court to adopt and set the
   16   deadlines set forth in the Appendix attached directly to this Memorandum.
   17
   18   Dated: August 13, 2024           By:   /s/ Bets C. Manifold
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   19
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              Proposed Notice and Final Approval Deadlines

         Date                Deadline/Event                         Timing
    Friday           Preliminary Approval Hearing         Preliminary Approval
    August 23,                                            Granted (“Preliminary
    2024                                                  Approval Order”)*
    Friday,          Deadline to begin disseminating      21 days after entry of
    Sept. 13, 2024   Settlement Class Notice              Preliminary Approval
                                                          Order
    Friday,          Deadline for EPPs to file Motion     7 days prior to deadline for
    Oct. 4, 2024     for Attorneys’ Fees and Costs        completion of
                                                          disseminating Settlement
                                                          Class Notice; and 21 days
                                                          prior to Objection
                                                          Deadline
    Friday,          Deadline to complete                 49 days after entry of
    Oct. 11, 2024    dissemination of Settlement Class    Preliminary Approval
                     Notice                               Order
    Friday,          Deadline for filing affidavit        56 days after entry of
    Oct. 18, 2024    attesting that Settlement Class      Preliminary Approval
                     Notice was disseminated as           Order
                     ordered
    Friday,          Deadline for Settlement Class        14 days after deadline to
    Oct. 25, 2024    Members to object to the             complete dissemination of
                     Settlement (“Objection               Settlement Class Notice
                     Deadline”)
    Friday,          Deadline for EPPs to file a motion   14 days before Objection
    Nov. 8, 2024     for final approval.                  Deadline
    Tuesday,         Deadline for Settlement Class        60 days after Settlement
    Nov. 12, 2024    Members to submit claims             Class Notice dissemination
                                                          begins
    Friday,          Fairness Hearing                     105 days after entry of
    Dec. 6, 2024                                          Preliminary Approval
                                                          Order

                                  Appendix
   *Assumes Preliminary Approval on August 23, 2021 hearing date for purposes of
   calculation.
